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 2   District of Nevada
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 4   Las Vegas, Nevada 89101

 5                    UNITED STATES DISTRICT COURT
 6                         DISTRICT OF NEVADA
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 7
     UNITED STATES OF AMERICA,                        )
 8                                                    ) Case No.2:11-cr-00347 KJD CWH
                     Plaintiff,                       )
 9                                                    ) Stipulation to Continue Response Date for
                                                        Motions in Limine
            vs.                                       )
10                                                    )
     HENRI WETSELAAR, MD,                             )
11                                                    )
                     Defendant.                       )
12                                                    )
                                                      )
13
            The United States, by and through the undersigned, defendant Henri Wetselaar, and his
14
     attorney, stipulate that the deadline for responding to the parties’ motions in limine, currently set
15
     for April 1, 2016, be vacated and continued until May 17, 2016, or other date and time
16
     convenient to the Court. This stipulation is entered into for the following reasons:
17
            1.      On April 4, 2016, the parties appeared before the Court on the parties’ Joint
18
     Motion to Continue Trial Date (Doc. No. 218). The Court indicated its intention to grant that
19
     motion and requested that the parties resubmit their request as a stipulation that expressly
20
     excludes time under the Speedy Trial Act. The parties did so that same day.
21
            2.      The Court indicated that it intended to reset the trial date until July 18, 2016. It
22
     also set a status conference on May 17, 2016 to address issues relating to defendant Wetselaar’s
23
     competency.
24
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 1          3.      Both parties filed motions in limine pursuant to the Court’s previously imposed

 2   deadline. The defendant responded in timely fashion to the one motion in limine filed by the

 3   United States. The United States has not yet responded to the various motions in limine filed by

 4   the defendant or filed its reply to the defendant’s response to its motion in limine. The parties

 5   are jointly requesting that the Court reset its deadline for responses to the pending motions until

 6   May 17, 2016, approximately six weeks prior to the start of trial, and the date of its status

 7   conference. The parties are jointly requesting that the Court reset its deadline for replies to the

 8   responses until May 24, 2016.

 9                                                         Respectfully submitted,

10                                                         DANIEL G. BOGDEN
                                                           United States Attorney
11

12          /s/                                                    /s/

13   JEFFREY SETNESS                                       CRISTINA D. SILVA
     Counsel for defendant Wetselaar                       CRANE M. POMERANTZ
14                                                         Assistant United States Attorney

15
     Dated: April 4, 2016
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 7                       UNITED STATES DISTRICT COURT
 8                            DISTRICT OF NEVADA
                                                   -oOo-
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     UNITED STATES OF AMERICA,                        )
10                                                    ) Case No.2:11-cr-00347 KJD CWH
                     Plaintiff,                       )
11                                                    ) Stipulation to Continue Response Date for
                                                        Motions in Limine
            vs.                                       )
12                                                    )
     HENRI WETSELAAR, MD,                             )
13                                                    )
                     Defendant.                       )
14                                                    )
                                                      )
15
            Based on the pending Stipulation of counsel, and good cause appearing therefore, the
16
     Court finds that:
17
            1.      On April 4, 2016, the parties appeared before the Court on the parties’ Joint
18
     Motion to Continue Trial Date (Doc. No. 218). The Court indicated its intention to grant that
19
     motion and requested that the parties resubmit their request as a stipulation that expressly
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 9                                      CONCLUSIONS OF LAW

10           The ends of justice served by granting said continuance outweigh the best interest of the

11   public and the defendant, since the failure to grant said continuance would be likely to result in a

12   miscarriage of justice, would deny the parties to adequately argue pretrial motions, taking into

13   account the exercise of due diligence.

14                                                 ORDER

15           IT IS THEREFORE ORDERED that the parties’ shall file their responses to pending

16   motions in limine on May 17, 2016, and shall file their replies to those responses on May 24,

17   2016.

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19           DATED: this 25th day of April, 2016.

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21                                                  ___________________________________
                                                    THE HONORABLE KENT J. DAWSON
22                                                  UNITED STATES DISTRICT JUDGE

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